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                         UNITED STATES DISTRICT COURT
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                       EASTERN DISTRICT OF CALIFORNIA
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   RAY GONZALES and SHEILA                     Case No.: 16-CV-00130 DAD (EPGx)
11 DEOCAMPO, in each case individually
   and as a successor-in-interest to Joshua    [Judge Dale A. Drozd]
12 Gonzales, deceased,                         [Magistrate Erica P. Grosjean]
13              Plaintiffs,                    ORDER DIRECTING THE CLERK
                                               OF THE COURT TO CLOSE CASE
14        v.
15 CITY OF LINDSAY; ANDREW
   LOFTIN; ELISEO MENDEZ; JUAN
16 ALCANTAR, and DOES 4-10,
   inclusive,
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              Defendants.
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                                    ORDER CLOSING CASE
     Case 1:16-cv-00130-DAD-EPG Document 42 Filed 06/29/17 Page 2 of 2



 1        On June 28, 2017, the parties filed a stipulation to dismiss this action with
 2 prejudice. (ECF No. 41.) Both parties have agreed to the dismissal. In light of the
 3 stipulation, the case has ended, see Fed. R. Civ. P. 41(a)(1)(A)(ii); Wilson v. City of
 4 San Jose, 111 F.3d 688, 692 (9th Cir. 1997), and is dismissed with prejudice.
 5 Concha v. London, 62 F.3d 1493, 1506 (9th Cir. 1995) (“Even if the defendant has
 6 filed a motion to dismiss, the plaintiff may terminate his action voluntarily by filing
 7 a notice of dismissal under Rule 41(a)(1).”). Accordingly, the Clerk of the Court is
 8 DIRECTED to close this case.
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     IT IS SO ORDERED.
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11     Dated:   June 29, 2017                         /s/
                                               UNITED STATES MAGISTRATE JUDGE
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                                      ORDER CLOSING CASE
